











Opinion issued August 7, 2008
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;














In The
Court of Appeals
For The
First District of Texas




NO. 01-08-00322-CV




IN RE EDWARD R. NEWSOME, Relator




Original Proceeding On Petition For Writ Of Mandamus




MEMORANDUM OPINION 




By petition for writ of mandamus, relator, Edward R. Newsome, seeks relief
from a trial court judgment or a new trial.  
&nbsp;
We deny the petition for writ of mandamus.
&nbsp;
Per Curiam
&nbsp;
Panel consists of Justices Taft, Jennings, and Bland.    


